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                                                                          CASREF,CUSTODY,H7,TERMED
               U.S. District Court Northern District of Indiana [LIVE]
                        USDC Northern Indiana (Hammond)
           CRIMINAL DOCKET FOR CASE #: 2:16ĳcrĳ00102ĳJTMĳAPRĳ3

   Case title: United States of America v. Delacruz et al          Date Filed: 07/21/2016
                                                                   Date Terminated: 07/19/2017

   Assigned to: Senior Judge James T
   Moody
   Referred to: Magistrate Judge
   Andrew P Rodovich

   Defendant (3)
   Jennifer Johnson                           represented by Thomas Anthony Durkin
   TERMINATED: 07/19/2017                                    Durkin & Roberts ĳ Chi/IL/Cla
                                                             2446 N Clark St
                                                             Chicago, IL 60614
                                                             312ĳ981ĳ0123
                                                             Fax: 312ĳ913ĳ9235
                                                             Email: tdurkin@durkinroberts.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

                                                            Robin V Waters
                                                            Durkin & Roberts ĳ Chi/IL/Cla
                                                            2446 N Clark St
                                                            Chicago, IL 60614
                                                            312ĳ981ĳ0137
                                                            Fax: 312ĳ913ĳ9235
                                                            Email: rwaters@durkinroberts.com
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

   Pending Counts                                           Disposition
                                                            The defendant is committed to the custody of the
                                                            U.S. Bureau of Prisons to be imprisoned for a
   21:841(a)(1) DISTRIBUTION OF                             term of 37 months, followed by 3 years
   COCAINE, A SCHEDULE II                                   supervised release. While on supervised release,
   CONTROLLED SUBSTANCE                                     the defendant is subject to the mandatory and
   AND FORFEITURE                                           discretionary conditions of supervision, as
   ALLEGATIONS                                              indicated. The Court orders the defendant to
   (5)                                                      forfeit the property described in the forfeiture
                                                            allegation of the indictment and to pay a $100.00
                                                            Special Assessment.



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   Highest Offense Level (Opening)
   Felony

   Terminated Counts                            Disposition
   21:841(a)(1) POSSESSION WITH
   INTENT TO DISTRIBUTE
   COCAINE, A SCHEDULE II
   CONTROLLED SUBSTANCE                         Dismissed
   AND FORFEITURE
   ALLEGATIONS
   (6)
   21:841(a)(1) POSSESSION WITH
   INTENT TO DISTRIBUTE
   METHAMPHETAMINE, A
   SCHEDULE II CONTROLLED                       Dismissed
   SUBSTANCE AND FORFEITURE
   ALLEGATIONS
   (7)

   Highest Offense Level
   (Terminated)
   Felony

   Complaints                                   Disposition
   None



   Plaintiff
   United States of America              represented by Armando L Salinas ĳ AUSA , Jr
                                                        US Attorney's Office ĳ Ham/IN
                                                        5400 Federal Plz Ste 1500
                                                        Hammond, IN 46320
                                                        219ĳ937ĳ5500
                                                        Fax: 219ĳ852ĳ2770
                                                        Email: USAINN.ECFDeparted@usdoj.gov
                                                        TERMINATED: 07/17/2019
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Government Attorney

                                                      Nicholas J Padilla ĳ AUSA
                                                      US Attorney's Office ĳ Ham/IN
                                                      5400 Federal Plz Ste 1500
                                                      Hammond, IN 46320
                                                      219ĳ937ĳ5500
                                                      Fax: 219ĳ852ĳ2770

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                                                                 Email: nick.padilla@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Government Attorney

    Date Filed   #    Page Docket Text
    07/21/2016    1      9 SEALED INDICTMENT as to Thomas Delacruz (1) count(s) 1, 2ĳ3, Joshua
                           DelacruzĳUrra (2) count(s) 2ĳ3, 4, Jennifer Johnson (3) count(s) 5, 6, 7.
                           (Attachments: # 1 Restricted Ink Signature) (tc) (Entered: 07/22/2016)
    07/28/2016              Judge update in case as to Thomas Delacruz, Joshua DelacruzĳUrra, Jennifer
                            Johnson. Magistrate Judge Andrew P Rodovich added. (rmn) (Entered:
                            07/28/2016)
    08/04/2016              Arrest of Jennifer Johnson (rmn) (Entered: 08/04/2016)
    08/04/2016   11         INITIAL APPEARANCE as to Jennifer Johnson eld on 8/4/2016 before
                            Magistrate Judge John E Martin. Govt appeared by atty Nicholas Padilla. Dft
                            appeared in person without counsel. Noah Lauby appeared on behalf of U S
                            Probation/Pretrial Services. Defendant advised of rights, charges and penalties.
                            Defendant states she has counsel. Govt requests detention ĳ Granted.
                            Detention/Arraignment set for 8/8/2016 02:30 PM in US District Court ĳ
                            Hammond before Magistrate Judge Andrew P Rodovich. Defendant
                            REMANDED to custody of US Marshal.(FTR GoldĳJEM) (rmn) (Entered:
                            08/04/2016)
    08/04/2016   12         Arrest Warrant Returned Executed on 8/3/16 in case as to Jennifer Johnson.
                            (kjp) (Entered: 08/04/2016)
    08/05/2016   14         PRETRIAL BOND REPORT as to Jennifer Johnson. NOTE: This document
                            will only be accessible to appropriate court staff, the government attorney and
                            the attorney for the applicable defendant. Other defendants in the case and the
                            general public will NOT be able to view this document. For parties entitled to
                            a free look at this document, enter your CM/ECF login and password to
                            confirm your right to view this document. (nlauby, ) (Entered: 08/05/2016)
    08/08/2016   15         DETENTION/ARRAIGNMENT HEARING as to Jennifer Johnson (3) Count
                            5,6,7 held on 8/8/2016 before Magistrate Judge Andrew P Rodovich. Govt
                            appeared by atty Armando Salinas. Dft appeared in person and by attorney
                            Thomas Durkin. Noah Lauby appeared on behalf of U S Probation/Pretrial
                            Services. Dft moves for continuance of detention hearing ĳ GRANTED. To be
                            reset upon separate notification. Dft advised of charges and penalties. Dft
                            waives reading of indictment and enters a plea of NOT GUILTY. Arraignment
                            Order attached. Dft agrees and the Court rules that the time used to prepare and
                            file preĳtrial motions pursuant to FRCP 12(b) is excluded when calculating the
                            time period for a speedy trial. Pretrial Motions due by 9/5/2016. Jury Trial set
                            for 9/26/2016 08:00 AM in US District Court ĳ Hammond before Judge Rudy
                            Lozano. Final Pretrial Conference set for 9/16/2016 02:45 PM in US District
                            Court ĳ Hammond before Magistrate Judge Andrew P Rodovich. Defendant
                            REMANDED to custody of US Marshal.(FTR Gold ĳ PRC) (rmn) (Entered:
                            08/08/2016)
    08/16/2016   18

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                         MOTION to Unseal Case by United States of America as to Thomas Delacruz,
                         Joshua DelacruzĳUrra, Jennifer Johnson. (nal) (Entered: 08/16/2016)
    08/17/2016   19      ORDER granting 18 Motion to Unseal Case as to Thomas Delacruz, Joshua
                         DelacruzĳUrra and Jennifer Johnson. ORDERED by Magistrate Judge Andrew
                         P Rodovich on 8/17/2016. Text entry only. (rmn) (Entered: 08/17/2016)
    09/01/2016   20      ATTORNEY APPEARANCE: Thomas Anthony Durkin appearing for Jennifer
                         Johnson (Durkin, Thomas) (Entered: 09/01/2016)
    09/01/2016   21      MOTION for Extension of Time to File Pretrial Motions (Unopposed) by
                         Jennifer Johnson. (Durkin, Thomas) (Entered: 09/01/2016)
    09/06/2016   22      ORDER: Court DENIES with leave to refile 21 Unopposed Motion for an
                         Extension of Time to File Pretrial Motions as to Jennifer Johnson (3). Signed
                         by Magistrate Judge Andrew P Rodovich on 9/6/2016. (tc) (Entered:
                         09/06/2016)
    09/06/2016   23      MOTION to Continue Trial Date and For Extension of Time to File Pretrial
                         Motions by Jennifer Johnson. (Durkin, Thomas) (Entered: 09/06/2016)
    09/07/2016   25      ORDER: Court GRANTS 23 Motion to Continue as to Jennifer Johnson,
                         Thomas Delacruz. The deadline to file Pretrial Motions is EXTENDED to
                         10/21/2016. Final Pretrial Conference RESET for 1/20/2017 09:30 AM in US
                         District Court ĳ Hammond before Magistrate Judge Andrew P Rodovich. Jury
                         Trial RESET as a primary setting for 1/30/2017 08:00 AM in US District Court
                         ĳ Hammond before Judge Rudy Lozano. Signed by Magistrate Judge Andrew
                         P Rodovich on 9/7/2016. (tc) (Entered: 09/07/2016)
    09/16/2016   26      ATTORNEY APPEARANCE: Robin V Waters appearing for Jennifer Johnson
                         (Waters, Robin) (Entered: 09/16/2016)
    10/21/2016   27      MOTION for Extension of Time to File Pretrial Motions (Unopposed) by
                         Jennifer Johnson. (Durkin, Thomas) (Entered: 10/21/2016)
    10/24/2016   28      ORDER granting 27 Motion for Extension of Time to File Pretrial Motions as
                         to Jennifer Johnson (3) Pretrial Motions due by 11/21/2016.. Signed by
                         Magistrate Judge Andrew P Rodovich on 10/24/2016. (jss) (Entered:
                         10/24/2016)
    11/21/2016   29      MOTION for Extension of Time to File Pretrial Motions (Unopposed) by
                         Jennifer Johnson. (Waters, Robin) (Entered: 11/21/2016)
    11/22/2016   30      ORDER granting 29 Motion for Extension of Time to File as to Jennifer
                         Johnson (3). Pretrial Motions due by 12/12/2016. Signed by Magistrate Judge
                         Andrew P Rodovich on 11/22/16. (kjp) (Entered: 11/22/2016)
    12/12/2016   33      MOTION for Extension of Time to File Pretrial Motions (AGREED) by
                         Jennifer Johnson. (Waters, Robin) (Entered: 12/12/2016)
    12/12/2016   34      ORDER GRANTING 33 Motion for Extension of Time to File as to Jennifer
                         Johnson (3) and EXTENDS the deadline to file pretrial Motions to 1/2/2017.
                         The period of delay resulting from this extension of time is to be excluded
                         under the termsof the Speedy Trial Act and 18 U.S.C. § 3161(h). Signed by
                         Magistrate Judge Andrew P Rodovich on 12/12/2016. (jss) (Entered:
                         12/12/2016)

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    01/06/2017   35      MINUTE ORDER: On the Court's own motion, the Final Pretrial Conference
                         set for 1/20/2017 before Magistrate Judge Andrew P Rodovich is RESET to
                         1/18/2017 01:00 PM in US District Court ĳ Hammond before Magistrate Judge
                         Andrew P Rodovich as to Thomas Delacruz, Jennifer Johnson. By Magistrate
                         Judge Andrew P Rodovich on 1/6/2017. Text entry only. (tc) (Entered:
                         01/06/2017)
    01/18/2017   37      MINUTE ORDER: The Final Pretrial Conference set for 1/18/2017 before
                         Magistrate Judge Andrew P Rodovich is VACATED as to Thomas Delacruz,
                         Jennifer Johnson, to be reset by separate order. By Magistrate Judge Andrew P
                         Rodovich on 1/18/2017. Text entry only. (tc) (Entered: 01/18/2017)
    01/19/2017   38      PLEA AGREEMENT as to Jennifer Johnson (Salinas ĳ AUSA, Armando)
                         (Additional attachment(s) added on 1/20/2017: # 1 Restricted Ink Signatures)
                         (tlr). (Entered: 01/19/2017)
    01/20/2017   39      NOTICE OF HEARING as to Jennifer Johnson: Change of Plea Hearing is set
                         for 1/27/2017 10:30 AM in US District Court ĳ Hammond before Judge Rudy
                         Lozano. US Marshal is ordered to produce defendant.(mc) (Entered:
                         01/20/2017)
    01/23/2017   43      NOTICE OF HEARING as to Jennifer Johnson regarding 39 Notice of
                         Hearing: Change of Plea Hearing is reset for 1/27/2017 at 1:30 PM in US
                         District Court ĳ Hammond before Judge Rudy Lozano. NOTE: This is
                         CHANGE IN TIME ONLY (per USM request). US Marshal is ordered to
                         produce defendant.(mc) (Entered: 01/23/2017)
    01/27/2017   48      CHANGE OF PLEA HEARING as to Jennifer Johnson held on 1/27/2017
                         before Judge Rudy Lozano. Govt appeared by atty Armando Salinas. Dft
                         appeared in person and by attys Thomas Durkin and Robin Waters. Sanjin
                         Bosnjak appeared on behalf of US Probation/Pretrial Services. Defendant
                         sworn and advised of rights and penalties. Defendant pleads guilty to count 5
                         of indictment to which court accepted. Court deferred acceptance of plea
                         agreement until the time of sentencing and review of PSR. Defendant is
                         referred to U.S. Probation for preparation of a presentence investigation report.
                         General Order distributed to counsels. Trial date of 1/30/2017 is vacated.
                         Sentencing is set for 5/31/2017 at 2:00 PM in US District Court ĳ Hammond
                         before Judge Rudy Lozano. Defendant REMANDED to custody of US
                         Marshal.(Court Reporter Angela Phipps.) (mc) (Entered: 01/27/2017)
    01/27/2017           Terminate Hearings as to all dfts: Jury Trial set for 1/30/2017 is VACATED.
                         (mc) (Entered: 01/27/2017)
    02/03/2017   49      MOTION for Preliminary Order of Forfeiture by United States of America as
                         to Jennifer Johnson. (Salinas ĳ AUSA, Armando) (Entered: 02/03/2017)
    02/21/2017   50      PRELIMINARY ORDER OF FORFEITURE granting 49 Motion for
                         Forfeiture of Property as to Jennifer Johnson (3). Signed by Judge Rudy
                         Lozano on 2/21/17. (kjp) (Entered: 02/22/2017)
    03/28/2017   51      DRAFT PRESENTENCE INVESTIGATION REPORT as to Jennifer
                         Johnson. NOTE: This document will only be accessible to the government
                         attorney and the attorney for the applicable defendant. The judge in this case,
                         other defendants and the general public will NOT be able to view this draft
                         document. For parties entitled to a free look at this document, enter your

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                         CM/ECF login and password to confirm your right to view this document.
                         Parties should submit objections to this report directly to the probation officer
                         listed at the end of this docket entry. IMPORTANT!!! Government
                         attorneys and federal community defenders should send objections by
                         SECURE EĳMAIL to the probation officer; private attorneys and CJA
                         panel attorneys MUST send objections by FAX ONLY! Government
                         Objections to the Draft Presentence Investigation Report are due not later
                         than 4/11/2017 pursuant to Rule 32 and General Order of the Court
                         2001ĳ1. Defendant Objections to the Draft Presentence Investigation
                         Report are due not later than 4/11/2017 pursuant to Rule 32 and General
                         Order of the Court 2001ĳ1. (USPO Bosnjak ĳ
                         sanjin_bosnjak@innp.uscourts.gov, fax 219ĳ852ĳ3639) (Entered: 03/28/2017)
    04/11/2017   52      NOTICE OF NO OBJECTION to Presentence Investigation Report by United
                         States of America as to Jennifer Johnson re 51 (USPO Bosnjak ĳ
                         sanjin_bosnjak@innp.uscourts.gov, fax 219ĳ852ĳ3639) (Entered: 04/11/2017)
    04/11/2017   53      NOTICE OF NO OBJECTION to Presentence Investigation Report by Jennifer
                         Johnson re 51 (USPO Bosnjak ĳ sanjin_bosnjak@innp.uscourts.gov, fax
                         219ĳ852ĳ3639) (Entered: 04/11/2017)
    04/20/2017   54      FINAL PRESENTENCE INVESTIGATION REPORT as to Jennifer
                         Johnson. NOTE: This document will only be accessible to appropriate court
                         staff, the government attorney and the attorney for the applicable defendant.
                         Other defendants in the case and the general public will NOT be able to view
                         this document. For parties entitled to a free look at this document, enter
                         your CM/ECF login and password to confirm your right to view this
                         document. (USPO Bosnjak ĳ sanjin_bosnjak@innp.uscourts.gov, fax
                         219ĳ852ĳ3639) (Entered: 04/20/2017)
    04/20/2017   55      ADDENDUM TO FINAL PRESENTENCE INVESTIGATION REPORT re
                         54 as to Jennifer Johnson. NOTE: This document will only be accessible to
                         appropriate court staff, the government attorney and the attorney for the
                         applicable defendant. Other defendants in the case and the general public will
                         NOT be able to view this document. For parties entitled to a free look at this
                         document, enter your CM/ECF login and password to confirm your right
                         to view this document. (USPO Bosnjak ĳ sanjin_bosnjak@innp.uscourts.gov,
                         fax 219ĳ852ĳ3639) (Entered: 04/20/2017)
    05/16/2017   64      REVISED FINAL PRESENTENCE INVESTIGATION REPORT as to
                         Jennifer Johnson. NOTE: This document will only be accessible to
                         appropriate court staff, the government attorney and the attorney for the
                         applicable defendant. Other defendants in the case and the general public will
                         NOT be able to view this document. For parties entitled to a free look at this
                         document, enter your CM/ECF login and password to confirm your right
                         to view this document. (USPO Bosnjak ĳ sanjin_bosnjak@innp.uscourts.gov,
                         fax 219ĳ852ĳ3639) (Entered: 05/16/2017)
    05/16/2017   65      SECOND ADDENDUM TO FINAL PRESENTENCE INVESTIGATION
                         REPORT re 64 as to Jennifer Johnson. NOTE: This document will only be
                         accessible to appropriate court staff, the government attorney and the attorney
                         for the applicable defendant. Other defendants in the case and the general
                         public will NOT be able to view this document. For parties entitled to a free
                         look at this document, enter your CM/ECF login and password to confirm
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                          your right to view this document. (USPO Bosnjak ĳ
                          sanjin_bosnjak@innp.uscourts.gov, fax 219ĳ852ĳ3639) (Entered: 05/16/2017)
    05/22/2017    66      SENTENCING MEMORANDUM by Jennifer Johnson (Durkin, Thomas)
                          (Entered: 05/22/2017)
    05/23/2017    68      SENTENCING MEMORANDUM by United States of America as to Jennifer
                          Johnson (Salinas ĳ AUSA, Armando) (Entered: 05/23/2017)
    05/26/2017    71      NOTICE as to Jennifer Johnson: The Court VACATES Sentencing hearing set
                          for 5/31/2017 at 2:00 pm. New hearing date will be set under separate notice.
                          (mc) (Entered: 05/26/2017)
    05/26/2017            Terminate Sentencing Hearing per de 71 as to Jennifer Johnson. (mc) (Entered:
                          05/26/2017)
    06/29/2017            Judge update in case as to Jennifer Johnson. Senior Judge James T Moody
                          added. Judge Rudy Lozano no longer assigned to case. (kjp) (Entered:
                          06/29/2017)
    06/29/2017    78      ORDER as to Jennifer Johnson. Due to considerations of workload
                          management and the speedy administration of justice, and pursuant to N.D.
                          Ind. L.R. 40ĳ1(f)(1), this action is reassigned from Judge Rudy Lozano to
                          Judge James T. Moody. Signed by Chief Judge Theresa L Springmann on
                          6/29/17. (kjp) (Entered: 06/29/2017)
    07/05/2017    85      NOTICE OF HEARING as to Jennifer Johnson: Sentencing set for 7/18/2017
                          at 1:00 PM in US District Court ĳ Hammond before Senior Judge James T
                          Moody. (efc) (Entered: 07/05/2017)
    07/18/2017    89      SENTENCING MEMORANDUM by Jennifer Johnson (Durkin, Thomas)
                          (Entered: 07/18/2017)
    07/18/2017            Plea Agreement Accepted as to Jennifer Johnson (efc) (Entered: 07/18/2017)
    07/18/2017    91      SENTENCING held on 7/18/2017 for Jennifer Johnson (3) before Senior Judge
                          James T Moody. Govt appeared by atty Armando Salinas. Dft appeared by atty
                          Thomas Durkin and atty Robin Waters. Sanjin (Sonny) Bosnjak appeared on
                          behalf of U S Probation/Pretrial Services. The Court accepts the plea
                          agreement. Count 5: The defendant is committed to the custody of the U.S.
                          Bureau of Prisons to be imprisoned for a term of 37 months, followed by 3
                          years supervised release. While on supervised release, the defendant is subject
                          to the mandatory and discretionary conditions of supervision, as indicated. The
                          Court orders the defendant to forfeit the property described in the forfeiture
                          allegation of the indictment and to pay a $100.00 Special Assessment. Count(s)
                          6, 7: Dismissed. The defendant is remanded to the custody of the U.S. Marshal.
                          (Court Reporter Angela Phipps) (efc) (Entered: 07/18/2017)
    07/19/2017    92   27 JUDGMENT as to Jennifer Johnson (3). Signed by Senior Judge James T
                          Moody on 7/19/17. (efc) (Entered: 07/19/2017)
    10/03/2017    99      Judgment Returned Executed as to Jennifer Johnson on 9/5/17. (nal) (Entered:
                          10/03/2017)
    11/27/2017   100      MOTION for Final Order of Forfeiture by United States of America as to
                          Jennifer Johnson. (Attachments: # 1 Exhibit DOP)(Salinas ĳ AUSA, Armando)

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                         (Entered: 11/27/2017)
    12/13/2017   101     FINAL ORDER OF FORFEITURE granting 100 Motion for Forfeiture of
                         Property as to Jennifer Johnson (3). Signed by Senior Judge James T Moody on
                         12/13/17. (kjp) (Entered: 12/13/2017)
    08/21/2019   137     PROBATION FILING as to Jennifer Johnson. NOTE: This document will
                         only be accessible to appropriate court staff, the government attorney and the
                         attorney for the applicable defendant. Other defendants in the case and the
                         general public will NOT be able to view this document. For parties entitled to
                         a free look at this document, enter your CM/ECF login and password to
                         confirm your right to view this document. (calexander, ) (Entered:
                         08/21/2019)
    08/21/2019   138     TRANSFER OF JURISDICTION ORDER as to Jennifer Johnson. Signed by
                         Senior Judge James T Moody on 8/21/19. (nal) (Entered: 08/21/2019)
    08/21/2019   139     Letter to USDC for the Northern District of Illinois re Transfer of Jurisdiction.
                         (nal) (Entered: 08/21/2019)
    08/22/2019   140     Jurisdiction Transferred to USDC Northern District of Illinois as to Jennifer
                         Johnson. (jat) (Entered: 08/28/2019)




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  LPSRVHGSXUVXDQWWRWKH6HQWHQFLQJ5HIRUP$FWRI
  &RXQW V DQGRIWKH,QGLFWPHQWDUH',60,66('RQWKHPRWLRQRIWKH8QLWHG6WDWHV



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  $FFRUGLQJO\ WKH GHIHQGDQW LV KHUHE\ FRPPLWWHG WR WKH FXVWRG\ RI WKH %XUHDX RI 3ULVRQV WR EH
  LPSULVRQHGIRUDWHUPRIPRQWKV

  7KH&RXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV

          7KHGHIHQGDQWEHJLYHQFUHGLWIRUWLPHVHUYHGZKLOHDZDLWLQJKHUVHQWHQFLQJ

          7KHGHIHQGDQWEHSODFHGLQ)3&*UHHQYLOOHLQ*UHHQYLOOH,OOLQRLVWREHWKHSODFHRIVHUYLFH
  RIWKLVSULVRQVHQWHQFH

         7KHGHIHQGDQWEHSODFHGLQDQLQVWLWXWLRQZLWKWKHIROORZLQJSURJUDP V DUHVLGHQWLDOGUXJ
  DEXVHWUHDWPHQWSURJUDPDPHQWDOKHDOWKFRXQVHOLQJSURJUDPDQDQJHUPDQDJHPHQWFRXQVHOLQJ
  SURJUDPDQHGXFDWLRQDOSURJUDPDQGDYRFDWLRQDOWUDLQLQJSURJUDP

          7KHGHIHQGDQWUHFHLYHSUHUHOHDVHSODFHPHQWLQDUHVLGHQWLDOUHHQWU\FHQWHUXSRQUHOHDVH



  7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

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  ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV

          'HIHQGDQW GHOLYHUHG BBBBBBBBBBBBBBBBBBBB WR BBBBBBBBBBBBBB DW BBBBBBBBBBBBBB
  ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW

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  8SRQWKHGHIHQGDQW VUHOHDVHIURPSULVRQE\WKH%XUHDXRI3ULVRQVVKHLVWRLPPHGLDWHO\EHSODFHG
  RQVXSHUYLVHGUHOHDVHIRUDWHUPRI\HDUV


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        :KLOH RQ VXSHUYLVLRQ WKH GHIHQGDQW VKDOO FRPSO\ ZLWK WKH IROORZLQJ PDQGDWRU\
  FRQGLWLRQV

          <RXVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH

          <RXVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH

          <RXVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFHDQGVXEPLWWRRQH
  GUXJWHVWZLWKLQGD\VRIUHOHDVHRQSUREDWLRQRUVXSHUYLVHGUHOHDVHDQGDWOHDVWWZRSHULRGLF
  GUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUWIRUXVHRIDFRQWUROOHGVXEVWDQFH7KLVFRQGLWLRQ
  PD\ EH DPHOLRUDWHG RU VXVSHQGHG E\ WKH FRXUW LI \RXU SUHVHQWHQFH UHSRUW RU RWKHU UHOLDEOH
  VHQWHQFLQJLQIRUPDWLRQLQGLFDWHVDORZULVNRIIXWXUHVXEVWDQFHDEXVH

          <RXVKDOOFRRSHUDWHLQWKHFROOHFWLRQRID'1$VDPSOHIURP\RXLIWKHFROOHFWLRQRIVXFK
  DVDPSOHLVDXWKRUL]HGXQGHUVHFWLRQRIWKH'1$$QDO\VLV%DFNORJ(OLPLQDWLRQ$FWRI




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        :KLOH RQ VXSHUYLVLRQ WKH GHIHQGDQW VKDOO FRPSO\ ZLWK WKH IROORZLQJ GLVFUHWLRQDU\
  FRQGLWLRQV

            8QOHVV GLUHFWHG RWKHUZLVH E\ WKH SUREDWLRQ RIILFHU \RX PXVW UHSRUW WR WKH SUREDWLRQ
  RIILFH LQ WKH IHGHUDO MXGLFLDO GLVWULFW ZKHUH \RX UHVLGH ZLWKLQ  KRXUV RI \RXU UHOHDVH IURP
  LPSULVRQPHQWRUFRPPHQFHPHQWRISUREDWLRQ(This condition serves the statutory sentencing
  purposes of public protection and rehabilitation. It also enables the probation officer to satisfy
  the statutory requirements to: Be responsible for the defendant; instruct the defendant as to the
  conditions of supervision specified by the sentencing court; keep informed as to the conduct and
  condition of the defendant; report the defendant's conduct and condition to the sentencing
  court; and aid the defendant in bringing about improvements in his or her conduct and
  condition. It also allows the probation office to begin the supervision process by requiring the
  defendant to notify the probation office that he or she has been released from the custody of the
  Bureau of Prisons or that he or she has commenced the specified term of probation.)

           $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RX
  UHVLGH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQGZKHQ
  \RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
  (This condition serves the statutory sentencing purposes of public protection and rehabilitation.
  It also enables the probation officer to: Be responsible for the defendant; instruct the defendant
  as to the conditions of supervision specified by the sentencing court; keep informed as to the
  conduct and condition of the defendant; report the defendant's conduct and condition to the
  sentencing court; and aid the defendant in bringing about improvements in his or her conduct
  and condition.)

           <RXPXVWDQVZHUWUXWKIXOO\WKHTXHVWLRQVWKHSUREDWLRQRIILFHUDVNV\RXUHODWHGWRWKH
  FRQGLWLRQV RI VXSHUYLVLRQ  7KLV FRQGLWLRQ GRHV QRW SUHYHQW \RX IURP LQYRNLQJ \RXU )LIWK
  $PHQGPHQWSULYLOHJHDJDLQVWVHOILQFULPLQDWLRQ(This condition serves the statutory sentencing
  purposes of public protection and rehabilitation. It also enables the probation officer to satisfy
  the statutory requirements to: Keep informed as to the conduct and condition of the defendant;
  report the defendant's conduct and condition to the sentencing court; and aid the defendant in
  bringing about improvements in his or her conduct and condition. The purpose of this condition
  is to build positive rapport and facilitate an honest discussion between the probation officer and
  the defendant. Accurate and complete information about the nature and circumstances of the
  offense and the history and characteristics of the defendant is necessary to implement effective
  supervision practices. This condition also promotes the safety of the probation officer by
  notifying him or her of possible safety threats (e.g., weapons or other occupants in the
  defendant's home with a history of violence). The probation officer attempts to develop and
  maintain a positive relationship with the defendant through transparent communication and
  the implementation of core correctional practices (e.g., active listening, development of problem
  solving skills, and effective reinforcement). Finally, this condition allows the probation officer
  to implement supervision methods demonstrated by social science to be effective at achieving
  positive outcomes.)



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           <RX PXVW QRW NQRZLQJO\ OHDYH WKLV IHGHUDO MXGLFLDO GLVWULFW ZLWKRXW ILUVW JHWWLQJ
  SHUPLVVLRQIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU(This condition serves the statutory sentencing
  purposes of public protection and rehabilitation. It also enables the probation officer to: Be
  responsible for the defendant; instruct the defendant as to the conditions of supervision specified
  by the sentencing court; keep informed as to the conduct and condition of the defendant; report
  the defendant's conduct and condition to the sentencing court; and aid the defendant in
  bringing about improvements in his or her conduct and condition. It also allows the probation
  officer to supervise the defendant by setting boundaries for travel without permission and by
  keeping the probation officer informed of the defendant's whereabouts. Finally, it allows the
  probation officer to implement supervision methods demonstrated by social science to be
  effective at achieving positive outcomes.)

            <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUGHVLJQHGWRPDNHVXUH\RX
  FRPSO\ ZLWK WKH FRQGLWLRQV RI VXSHUYLVLRQ  (This condition serves the statutory sentencing
  purposes of public protection and rehabilitation. It also enables the probation officer to satisfy
  the statutory requirements to: Keep informed as to the conduct and condition of the defendant;
  report the defendant's conduct and condition to the sentencing court; aid the defendant in
  bringing about improvements in his or her conduct and condition; instruct the defendant as to
  the conditions specified by the sentencing court; provide a written statement of those conditions
  that is sufficiently clear and specific to serve as a guide for such supervision as is required; and
  provide enforceable instructions that reasonably derive from or are necessary to ensure
  compliance with the court-imposed conditions of supervision.)

           <RX PXVW QRW RZQ SRVVHVV RU KDYH XQGHU \RXU FRQWURO D ILUHDUP DPPXQLWLRQ
  GHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ(This condition serves the statutory sentencing purpose
  of public protection. By allowing the probation officer to supervise the defendant without risk
  to safety caused by the possession of weapons, it enables the probation officer to satisfy the
  statutory requirements to: Keep informed as to the conduct and condition of the defendant;
  report the defendant's conduct and condition to the sentencing court; and aid the defendant in
  bringing about improvements in his or her conduct and condition. Finally, it promotes the
  public safety and reduces safety risks posed by the defendant to the community and the probation
  officer, and it assists in ensuring that the defendant is complying with other conditions such as
  the prohibition of committing new crimes including the prohibition of possession of certain
  weapons for defendants convicted of certain crimes.)

            <RXPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQW
  XQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURPGRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW
  \RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURPGRLQJ
  VR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUN VXFKDV\RXUSRVLWLRQRU
  \RXUMREUHVSRQVLELOLWLHV \RXPXVWWHOOWKHSUREDWLRQRIILFHUDWOHDVWWHQFDOHQGDUGD\VEHIRUHWKH
  FKDQJH  ,I WHOOLQJ WKH SUREDWLRQ RIILFHU LQ DGYDQFH LV QRW SRVVLEOH GXH WR XQDQWLFLSDWHG
  FLUFXPVWDQFHV \RX PXVW WHOO WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV DIWHU WKH FKDQJH  (This
  condition serves the statutory sentencing purposes of public protection and rehabilitation. It
  also enables the probation officer to satisfy the statutory requirements to keep informed as to
  the conduct and condition of the defendant and to aid the defendant in bringing about
  improvements in his or her conduct and condition. Finally, this condition allows the probation


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  officer to implement supervision methods demonstrated by social science to be effective at
  achieving positive outcomes.)

             <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH
  \RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJDUUDQJHPHQWV VXFKDVWKHSHRSOH\RXOLYHZLWK \RXPXVW
  WHOO WKH SUREDWLRQ RIILFHU DW OHDVW WHQ FDOHQGDU GD\V EHIRUH WKH FKDQJH  ,I WHOOLQJ WKH SUREDWLRQ
  RIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWWHOOWKHSUREDWLRQ
  RIILFHUZLWKLQKRXUVDIWHUWKHFKDQJH(This condition serves the statutory sentencing purposes
  of public protection and rehabilitation. It also enables the probation officer to satisfy the
  statutory requirements to: Keep informed as to the conduct and condition of the defendant;
  report the defendant's conduct and condition to the sentencing court; and aid the defendant in
  bringing about improvements in his or her conduct and condition. Finally, it allows the
  probation officer to be aware of changes in the defendant's residence so that the probation
  officer can determine whether such a change poses a risk to the community or impacts the
  defendant's risk and needs. Advance notice of such a change is necessary to allow time to assess
  the suitability of the new residence.)

             <RXVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRO7KLVLQFOXGHVELQJHGULQNLQJDQG
  KHDY\GULQNLQJ%LQJHGULQNLQJLVGHILQHGDVDSDWWHUQRIGULQNLQJWKDWEULQJVEORRGDOFRKRO
  FRQFHQWUDWLRQ OHYHOV WR  JUDPV SHU GHFLOLWHU RU KLJKHU  +HDY\ GULQNLQJ LV GHILQHG DV
  FRQVXPLQJILIWHHQGULQNVRUPRUHSHUZHHNRUDQ\XVHRIDOFRKROWKDWDGYHUVHO\DIIHFWV\RXU
  HPSOR\PHQWUHODWLRQVKLSVRUDELOLW\WRFRPSO\ZLWKWKHFRQGLWLRQVRIVXSHUYLVLRQRUZKLFKUHVXOWV
  LQ WKH YLRODWLRQ RI DQ\ ORFDO VWDWH RU IHGHUDO ODZV LQFOXGLQJ GLVRUGHUO\ LQWR[LFDWLRQ RU GULYLQJ
  XQGHU WKH LQIOXHQFH  (This condition serves the statutory sentencing purposes of public
  protection and rehabilitation. It also allows the probation officer to satisfy the statutory
  requirements to: Keep informed as to the conduct and condition of the defendant; report the
  defendant's conduct and condition to the sentencing court; and aid the defendant in bringing
  about improvements in his or her conduct and condition.)

           <RXPXVWQRWJRWRRUEHDWDQ\SODFHZKHUH\RXNQRZRUUHDVRQDEO\VKRXOGNQRZ
  FRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHGZLWKRXWILUVWREWDLQLQJ
  WKHSHUPLVVLRQRIWKHSUREDWLRQRIILFHU(This condition serves the statutory sentencing purposes
  of public protection and rehabilitation. It also prevents the defendant from being in an
  environment where crimes are occurring, antisocial associates are present, or there is an
  increased risk of substance abuse. Finally, it enables the probation officer to satisfy the
  statutory requirements to: Keep informed as to the conduct and condition of the defendant;
  report the defendant's conduct and condition to the sentencing court; and aid the defendant in
  bringing about improvements in his or her conduct and condition.)

           ,I\RXNQRZVRPHRQHLVFRPPLWWLQJDFULPHRULVSODQQLQJWRFRPPLWDFULPH\RX
  PXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQLQDQ\ZD\,I\RXNQRZVRPHRQH
  KDVEHHQFRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQ
  LQDQ\ZD\ZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHSUREDWLRQRIILFHU(This condition serves
  the statutory sentencing purposes of public protection and rehabilitation. It also enables the
  probation officer to satisfy the statutory requirements to: Keep informed as to the conduct and
  condition of the defendant; report the defendant's conduct and condition to the sentencing


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  court; and aid the defendant in bringing about improvements in his or her conduct and
  condition. Finally, it prevents antisocial relationships, encourages pro-social relationships,
  provides the defendant with a justification to avoid associating with persons convicted of
  felonies, and may deter future criminal conduct that may be jointly undertaken with those
  persons.)

            <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWKRPHRUDWDQ\RWKHUUHDVRQDEOH
  ORFDWLRQDQG\RXPXVWSHUPLWWKHFRQILVFDWLRQRIDQ\FRQWUDEDQGWKHSUREDWLRQRIILFHUREVHUYHVLQ
  SODLQYLHZ$YLVLWEHWZHHQWKHKRXUVRISPDQGDPVKDOOEHFRQGXFWHGRQO\ZKHQ
  WKHSUREDWLRQRIILFHUKDVDUHDVRQDEOHEHOLHIWKDW\RXKDYHYLRODWHGDFRQGLWLRQRIVXSHUYLVLRQDQG
  WKDWDYLVLWGXULQJWKRVHKRXUVZRXOGUHYHDOLQIRUPDWLRQRUFRQWUDEDQGWKDWZRXOGQRWEHUHYHDOHG
  E\ D YLVLW DW DQ\ RWKHU WLPH  ,I \RX DUH SODFHG RQ KRPH GHWHQWLRQ ZLWK ORFDWLRQ PRQLWRULQJ
  HTXLSPHQW DQG WKH PRQLWRULQJ VHUYLFH DOHUWV WKH SUREDWLRQ RIILFH WKDW HLWKHU WKH PRQLWRULQJ
  HTXLSPHQW KDV PDOIXQFWLRQHG RU WKDW \RX DUH LQ QRQFRPSOLDQFH \RX PXVW DOORZ WKH SUREDWLRQ
  RIILFHUWRYLVLW\RXDWDQ\WLPHWRHQVXUHWKDWWKHORFDWLRQPRQLWRULQJHTXLSPHQWLVIXQFWLRQLQJ
  SURSHUO\ DQGWKDW\RXDUHLQFRPSOLDQFHZLWK\RXUKRPHGHWHQWLRQFRQGLWLRQ(This condition
  serves the statutory sentencing purposes of public protection and rehabilitation. It also enables
  the probation officer to satisfy the statutory requirements to: Keep informed as to the conduct
  and condition of the defendant; report the defendant's conduct and condition to the sentencing
  court; and aid the defendant in bringing about improvements in his or her conduct and
  condition. Finally, it allows the probation officer to implement effective supervision strategies
  by making the probation officer aware of the defendant's living environment, and standard of
  living; by facilitating the development of rapport with the defendant's family members, friends,
  and other members of the defendant's support network; and by providing an environment that
  may in some cases be more conducive to open and honest communication with the probation
  officer.)

           <RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHG
  E\DODZHQIRUFHPHQWRIILFHU(This condition serves the statutory sentencing purposes of public
  protection and rehabilitation. It also enables the probation officer to satisfy the statutory
  requirements to: Keep informed as to the conduct and condition of the defendant; report the
  defendant's conduct and condition to the sentencing court; and aid the defendant in bringing
  about improvements in his or her conduct and condition. Finally, it allows the probation officer
  to be aware of potential criminal activity or involvement in high-risk situations by the defendant
  and it assists in ensuring that the defendant is complying with other conditions such as the
  prohibition on committing new crimes or associating with those involved in criminal activity.)

            8QOHVVDQDVVHVVPHQWDWWKHWLPHRIUHOHDVHIURPLPSULVRQPHQWRUFRPPHQFHPHQWRI
  SUREDWLRQLQGLFDWHVWKDWSDUWLFLSDWLRQLVQRWQHFHVVDU\\RXPXVWSDUWLFLSDWHLQDGUXJDQGDOFRKRO
  DEXVH WUHDWPHQW SURJUDP DQG IROORZ WKH UXOHV DQG UHJXODWLRQV RI WKDW SURJUDP  7KH SUREDWLRQ
  RIILFHU ZLOO VXSHUYLVH \RXU SDUWLFLSDWLRQ LQ WKH SURJUDP SURYLGHU ORFDWLRQ PRGDOLW\ GXUDWLRQ
  LQWHQVLW\HWF <RXPXVWSD\WKHFRVWVRIWKHSURJUDPLIILQDQFLDOO\DEOH<RXPXVWQRWXVHRU
  SRVVHVVDQ\FRQWUROOHGVXEVWDQFHVZLWKRXWDYDOLGSUHVFULSWLRQ,I\RXGRKDYHDYDOLGSUHVFULSWLRQ
  \RXPXVWIROORZWKHLQVWUXFWLRQVRQWKHSUHVFULSWLRQ<RXPXVWQRWXVHRUSRVVHVVDOFRKROGXULQJ
  WKHFRXUVHRIWUHDWPHQW<RXPXVWVXEPLWWRVXEVWDQFHDEXVHWHVWLQJQRWWRH[FHHGWHVWVSHU
  \HDUWRGHWHUPLQHLI\RXKDYHXVHGDSURKLELWHGVXEVWDQFH<RXPXVWQRWNQRZLQJO\SXUFKDVH


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  SRVVHVV GLVWULEXWH DGPLQLVWHU RU RWKHUZLVH XVH DQ\ SV\FKRDFWLYH VXEVWDQFHV HJ V\QWKHWLF
  PDULMXDQDEDWKVDOWVHWF WKDWLPSDLUDSHUVRQ VSK\VLFDORUPHQWDOIXQFWLRQLQJZKHWKHURUQRW
  LQWHQGHGIRUKXPDQFRQVXPSWLRQH[FHSWDVZLWKWKHSULRUDSSURYDORIWKHSUREDWLRQRIILFHU(This
  condition serves the statutory sentencing purposes of public protection, deterrence, and
  rehabilitation. This condition also enables the probation officer to satisfy the statutory
  requirements to: Keep informed as to the conduct and condition of the defendant; report the
  defendant's conduct and condition to the sentencing court; and aid the defendant in bringing
  about improvements in his or her conduct and condition. Social science research has shown
  that substance abuse draws one to antisocial others, exposes one to antisocial attitudes,
  interferes with prosocial relationships, hampers success at employment, and leads to impulsive
  decision making. Drug testing deters the defendant from possessing illegal drugs by making
  him or her cognizant that unlawful possession can be discovered at any time through drug
  testing, protects the public by enhancing the ability of the probation officer to detect unlawful
  substances and by assisting with substance abuse treatment, and assists with substance abuse
  treatment by providing a barometer for change. Abstinence from alcohol use is necessary
  because research shows that alcohol use is likely to trigger a recovering drug abuser's return to
  drug use. Additionally, substance-dependent defendants may substitute alcohol for their drug
  of choice.)

           <RXPXVWFRPSOHWHKRXUVRIFRPPXQLW\VHUYLFHSHUZHHNLQDSURJUDPDSSURYHGE\
  WKHSUREDWLRQRIILFHUXQWLO\RXDUHHPSOR\HGDWOHDVWKRXUVSHUZHHN,I\RXDUHQRWHPSOR\HG
  ZLWKLQGD\VRISODFHPHQWRQVXSHUYLVLRQIRUDWOHDVWKRXUVSHUZHHN\RXUFRPPXQLW\VHUYLFH
  KRXUVZLOOLQFUHDVHWRKRXUVSHUZHHNXQWLO\RXDUHHPSOR\HGIRUDWOHDVWKRXUVSHUZHHN
  <RXPXVWSURYLGHZULWWHQYHULILFDWLRQRIFRPSOHWHGKRXUVWRWKHSUREDWLRQRIILFHU(This condition
  serves the statutory sentencing purposes of public protection and rehabilitation. It also enables
  the probation officer to satisfy the statutory requirements to keep informed as to the conduct
  and condition of the defendant and to aid the defendant in bringing about improvements in his
  or her conduct and condition. Finally, it serves as the publicly discernible penalty in probation
  cases or as a negative consequence for noncompliance with conditions of supervision; as a
  controlling strategy that requires the defendant to be productively occupied; or as a correctional
  strategy that provides a way for the defendant to acquire job readiness skills and job experience
  or broaden his or her network of associates in a more productive direction. In addition to the
  specific sentencing purpose to be served, the desired by-product of community service is always
  to benefit the community.)

           <RXPXVWQRWPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDVSHFLDO
  DJHQWRUFRQILGHQWLDOLQIRUPDQWZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW(A confidential
  informant is a defendant who engages in the prohibited activity of associating with persons
  engaged in criminal activity for the purpose of furnishing information to or acting as an agent
  for a law enforcement or intelligence agency. Since the inception of the federal criminal justice
  system, prosecutors have utilized defendants supervised in the community as confidential
  informants. The activities required of confidential informants, however, may potentially
  conflict the conditions normally imposed by a court. Acting as a confidential informant is
  generally inconsistent with the rehabilitative and re-integrative goals of supervision. Such
  activities may also pose risks to the probation officer who supervises the defendant, especially
  when he or she has limited knowledge or no knowledge of the nature of the defendant's


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  activities. There are rare occasions, however, when the law enforcement benefits to the
  community justify permitting the defendant to engage in this high-risk activity. In these cases,
  strict monitoring by the court and the probation office is necessary for the safety of the
  community, the defendant, and the supervising probation officer.)


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  )RUIHLWXUHRIWKHSURSHUW\GHVFULEHGLQWKHIRUIHLWXUHDOOHJDWLRQVRIWKH,QGLFWPHQWWRWKH8QLWHG
  6WDWHVLVKHUHE\RUGHUHG

  7KHGHIHQGDQWVKDOOSD\WRWKH8QLWHG6WDWHVDVSHFLDODVVHVVPHQWLQWKHDPRXQWRIZKLFK
  LVGXHDQGSD\DEOHLPPHGLDWHO\WRWKH&OHUNRIWKLVFRXUW

  :KLOH LQFDUFHUDWHG WKH GHIHQGDQW PD\ SD\ KHU ILQDQFLDO REOLJDWLRQ V  IURP ZDJHV HDUQHG E\
  SDUWLFLSDWLQJ LQ WKH LQPDWH ILQDQFLDO UHVSRQVLELOLW\ SURJUDP  1RQSDUWLFLSDWLRQ PD\ UHVXOW LQ D
  GHQLDORIFHUWDLQSULYLOHJHVWRZKLFKVKHPLJKWRWKHUZLVHEHHQWLWOHG

  7KHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHV$WWRUQH\IRUWKLV'LVWULFWZLWKLQGD\VRIDQ\FKDQJH
  RIQDPHUHVLGHQFHPDLOLQJDGGUHVVRUPDWHULDOFKDQJHLQKHUHFRQRPLFFLUFXPVWDQFHVXQWLOWKLV
  ILQDQFLDOREOLJDWLRQ V LVIXOO\SDLG

  %HFDXVH WKH GHIHQGDQW GRHV QRW KDYH WKH IXQGV RU ILQDQFLDO UHVRXUFHV WR SD\ D ILQH ZLWKRXW
  LPSDLULQJKHUDELOLW\WRVXSSRUWKHUVHOIDQGKHUGHSHQGHQW V ,DPLPSRVLQJQRILQH




  

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